Case 3:21-cv-00881-X Document 138-62 Filed 07/14/23   Page 1 of 13 PageID 9793




                            EXHIBIT 62




                                                                  Appx. 01212
Case 3:21-cv-00881-X Document 138-62 Filed 07/14/23   Page 2 of 13 PageID 9794

                                                          Claim #239 Date Filed: 1/24/2021




                                                                    Appx. 01213
Case 3:21-cv-00881-X Document 138-62 Filed 07/14/23   Page 3 of 13 PageID 9795




                                                                  Appx. 01214
Case 3:21-cv-00881-X Document 138-62 Filed 07/14/23   Page 4 of 13 PageID 9796




                                                                  Appx. 01215
Case 3:21-cv-00881-X Document 138-62 Filed 07/14/23   Page 5 of 13 PageID 9797




                                                                  Appx. 01216
Case 3:21-cv-00881-X Document 138-62 Filed 07/14/23   Page 6 of 13 PageID 9798




                                                                  Appx. 01217
Case 3:21-cv-00881-X Document 138-62 Filed 07/14/23   Page 7 of 13 PageID 9799




                                                                  Appx. 01218
Case 3:21-cv-00881-X Document 138-62 Filed 07/14/23   Page 8 of 13 PageID 9800




                                                                  Appx. 01219
Case 3:21-cv-00881-X Document 138-62 Filed 07/14/23   Page 9 of 13 PageID 9801




                                                                  Appx. 01220
Case 3:21-cv-00881-X Document 138-62 Filed 07/14/23   Page 10 of 13 PageID 9802




                                                                  Appx. 01221
Case 3:21-cv-00881-X Document 138-62 Filed 07/14/23   Page 11 of 13 PageID 9803




                                                                  Appx. 01222
Case 3:21-cv-00881-X Document 138-62 Filed 07/14/23   Page 12 of 13 PageID 9804




                                                                  Appx. 01223
Case 3:21-cv-00881-X Document 138-62 Filed 07/14/23   Page 13 of 13 PageID 9805




                                                                  Appx. 01224
